            Case 1:14-cr-10175-IT Document 235 Filed 07/30/15 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA
                                                              CRIMINAL ACTION
       v.
                                                              1:14-CR-l 0175~IT      '" ~....



(2) JUAN JOSE GONZALEZ-MINLETTY :

                          ORDER ON MOTION TO EXCLUDE TIME

       Based on the motion of the United States, with the assent of the defendant in the above-

referenced action, the Court hereby EXCLUDES, in computing the time within which the trial of

this matter shall commence under 18 U.S.C. §3161(c)(1), the time period from July 20,2015, the

date established for the defendant's trial, through and including at least until October 13, 2015,

the date established for the Court's determination whether to accept defendant's Fed. R. Crim. P.

11(c)(1 )(C) plea, and for sentencing. The delay is necessary to permit the Court to receive the

presentence report to determine whether the sentencing range in the plea agreement is reasonable

and appropriate, and therefore serves the interests of justice and outweighs the best interest of the

public and the defendant in a speedy trial. Accordingly, exclusion of the time is appropriate

under 18 U.S.C. §§3161(h)(1)(D) and (7)(A).


       SO ORDERED.


                                                      ~'V-'                  .
                                                      ONORABLE INDIRA TAL WANI
                                                      UNITED STATES. DISTRICT JUDGE -,
